     Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 1 of 22 PageID #:1348




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Sarina Ervin,                       )
Petitioner,                         )
                                    )
v.                                  )
                                    )       Case No. 1:21-cv-06064
Raymond Ervin,                      )       NOTICE OF APPEAL
Respondent,                         )
                                    )
and                                 )
                                    )
Gwendolyn Barlow,                   )
Third Party Respondent.             )

                                   NOTICE OF APPEAL


        NOTICE IS HEREBY GIVEN that Respondents Raymond Ervin and Gwendolyn

Barlow in the above-named case, hereby appeal to the United States Court of Appeals for the

Seventh Circuit from the order granting Petitioner’s Motion to Remand pursuant to 28 U.S.C.

§1443, entered in this action on the 16th day of December 2021.


DATED: December 27, 2021


By:     s/Raymond N. Ervin
        s/Gwendolyn M. Barlow

Raymond N. Ervin, Pro Se
Gwendolyn M. Barlow, Pro Se
331 Springside Lane
Buffalo Grove, IL 60089
(847) 404-4375
ervinpatentlaw@gmail.com
(847) 204-0416
 barlowervin727@gmail.com
   Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 2 of 22 PageID #:1349




                               CERTIFICATE OF SERVICE

       This is to certify that the foregoing NOTICE OF APPEAL, was e-filed through ECF and

electronically served on December 27, 2021, to:

              Matthew Elster
              161 North Clark Street, Suite 3000
              Chicago, IL 60601
              mdelster@beermannlaw.com
              Attorney for Petitioner



DATED: December 27, 2021
   Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 3 of 22 PageID #:1350




                          UNITED STATES COURT OF APPEALS
                             FOR THE SEVENTH CIRCUIT
                                United States Courthouse
                               219 South Dearborn Street
                                    Chicago, Illinois

                                  DOCKETING STATEMENT
                                     7CCA Docket No. 21-6064
                                       Type of Action:      Civil

Sarina Ervin,                                       )
                                                    )
       Petitioner-Appellee,                         )
                                                    )
       v.                                           )      Civil Action No. : 1:21-cv-06064
                                                    )
Raymond N. Ervin,                                   )      Judge Gary Feinerman
                                                    )
       Respondent-Appellant                         )      Northern District IL/Eastern
                                                    )      Division
       and                                          )
                                                    )
Gwendolyn Barlow,                                   )
     Third Party Respondent                         )

Statute or other authority establishing jurisdiction in the:
                       District Court:       28 U.S.C. § 1441;
                       Court of Appeals:     28 U.S.C. § 1291, 28 U.S.C. § 1443

Timeliness of Appeal:

       1.       Date of entry of judgment or order appealed from:                 12/16/21
       2.       Date notice of appeal filed:                                      12/27/21

Is the order or judgment appealed from a final decision on the merits?            Yes


Based on your present knowledge:
Will this appeal involve a question of first impression? No

If yes, please explain briefly:

Is any related case or cases raising related issues pending in this Court, any district court of
this circuit, or the Supreme Court?         No
   Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 4 of 22 PageID #:1351




State the nature of the suit, the relief sought, and the outcome below.

This is an action brought under 28 U.S.C § 1441 pursuant to 28 U.S.C §§ 1443, 1446(b)(3), and
42 U.S.C § 1983, in an action to remove the matter from the Circuit Court of Lake County, IL.
The District Court granted Petitioner’s motion to remand ruling that Respondents did not satisfy
the objective and reasonable analysis as the basis of the removal due to untimely filing of Notice
of Removal and bar of Mack Order. Respondents filed a Motion to Reopen the Case pursuant to
FRCP 60 (b). The District Court denied Respondent’s motion stating that there were no grounds
for correcting the order. Respondents are seeking to have the Order remanding the matter
vacated and the removal granted.

Issues to be raised on appeal.

Whether the District Court erred when finding that Respondent’s Notice of Removal was
untimely and that there was no exception to the Mack Order?

Whether the Mootness Doctrine bars Petitioner’s claims for Remand?

Whether the actions of the State Court deprived Respondents of their Civil Rights?


Is settlement being discussed? No

Is disposition on motions, memoranda, or abbreviated briefing schedule appropriate? No,
an abbreviated briefing schedule would be a disservice to Respondents.

Is oral argument necessary? No

Were there any in-court proceedings below? Yes

Is a transcript necessary for this appeal? Yes

If yes, is transcript already on file with the District Court? No, but it will be ordered.

List each adverse party to the appeal? If no attorney, give address and telephone number of
the adverse party. Attach additional page if necessary.

       Matthew Elster
       Beermann Law
       161 North Clark Street
       Suite 3000
       Chicago, Illinois 60601
   Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 5 of 22 PageID #:1352




List name(s) and address(es) of appellant(s) who filed this notice of appeal and appellant’s
counsel. Attach additional page if necessary.

Appellant name: Raymond N. Ervin and Gwendolyn Barlow
Attorney:    Raymond N. Ervin, Pro Se and Gwendolyn Barlow, Pro Se
             331 Springside Lane
             Buffalo Grove, Illinois 60089
             Ph:    (847) 404-4375/(847) 204-0416

Will you be handling the appeal? (In criminal cases counsel below will handle the appeal
unless relieved by this court.) Yes

FRAP 12(b) provides that each attorney who files a notice of appeal must file with the clerk of
the court of appeals a statement naming each party represented on appeal by that attorney. Any
counsel, other than the attorney filing this form, who filed a notice of appeal must provide the
requisite statement to be attached to this form.


Signature: /s/ Raymond N. Ervin
           /s/ Gwendolyn Barlow

Date: December 27, 2021

ATTACHED:
COPY OF THE ORDER OR JUDGMENT FROM WHICH THE APPEAL IS TAKEN.
COPY OF THE ORDER DENYING THE MOTION TO REOPEN THE CASE
CERTIFICATE OF SERVICE FOR THIS DOCKETING STATEMENT.
   Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 6 of 22 PageID #:1353




                               CERTIFICATE OR SERVICE


       We hereby certify that on the date set forth below, this Docketing Statement was e-filed
through ECF and served on counsel of record.


Dated: December 27, 2021

By:    s/Raymond N. Ervin
       s/Gwendolyn M. Barlow

Raymond N. Ervin, Pro Se
Gwendolyn M. Barlow, Pro Se
331 Springside Lane
Buffalo Grove, IL 60089
(847) 404-4375
ervinpatentlaw@gmail.com
(847) 204-0416
 barlowervin727@gmail.com
   Case:1:21-cv-06064
   Case: 1:21-cv-06064Document
                      Document#:
                               #:26
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                                    Filed:12/28/21
                                          12/16/21Page
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                                                            2 PageID
                                                              PageID#:1318
                                                                     #:1354




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SARINA ERVIN,                                                )
                                                              )
                                          Petitioner,         )    21 C 6064
                                                              )
                             vs.                              )    Judge Gary Feinerman
                                                              )
 RAYMOND ERVIN,                                               )
                                                              )
                                        Respondent,           )
                                                              )
 GWENDOLYN BARLOW,                                            )
                                                              )
                            Third-Party Respondent.           )

                                             ORDER

For the reasons set forth below, Petitioner’s motion to remand [6] is granted. This matter is
remanded to the Circuit Court of the Nineteenth Judicial Circuit, Lake County, Illinois. The
Clerk is directed to effectuate the remand forthwith. Petitioner’s request for fees and costs under
28 U.S.C. § 1447(c) is granted. By 1/6/2022, Petitioner shall file a memorandum, with
evidentiary support, setting forth the fees and costs she incurred in seeking remand. Respondent
and Third-Party Respondent shall respond to Petitioner’s memorandum by 1/20/2022; Petitioner
shall reply by 1/27/2022. The 12/17/2021 status hearing [14] is stricken. A hearing on the
amount of the § 1447(c) award is set for 2/8/2022 at 9:30 a.m. Attorneys/Parties should appear
for the hearing by calling the Toll-Free Number: (877) 336-1828, Access Code: 4082461.
Members of the public and media will be able to call in to listen to this hearing (use toll free
number). Please, please be sure to keep your phone on mute when you are not speaking. Persons
granted remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Civil case remanded.
                                             STATEMENT

        The background of this matter is set forth in Ervin v. Ervin, 849 F. App’x 168 (7th Cir.
2021) (Ervin II), and Ervin v. Ervin, 571 F. App’x 464 (7th Cir. 2014) (Ervin I). Familiarity with
those opinions is assumed. Raymond Ervin, this time joined by Gwendolyn Barlow, has once
again removed this suit to federal court. Doc. 1. Sarina Ervin moves to remand, Doc. 6, and her
motion is granted. There are many grounds for remand, but only two need be discussed.

        First, Raymond is subject to a Mack order that bars him from filing any paper in any
federal court in the Seventh Circuit unless and until he pays Sarina the $7,800 assessed by the
Seventh Circuit in Ervin II. Doc. 7-3. Raymond does not acknowledge the Mack order, let alone


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   Case:1:21-cv-06064
   Case: 1:21-cv-06064Document
                      Document#:
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                                                              PageID#:1319
                                                                     #:1355




assert that he has paid Sarina $7,800. Doc. 11. Accordingly, Raymond was not entitled to
remove this matter, which of course involves filing a paper in this court. And by failing to
address the Mack order, Raymond forfeited any argument he might have had that it did not bar
him from attempting a removal.

        Second, the removal was untimely under 28 U.S.C. § 1446(b). At the very latest, the
removal clock started on June 21, 2021, when the state trial court issued an order requiring
Raymond and Barlow to produce documents pursuant to previously issued citations to discover
assets, Doc. 7-4, or, at the very, very latest, on July 30, 2021, when the state trial court issued a
rule to show cause, Doc. 7-5, that, when they failed to comply, resulted in the contempt order
sentencing them to 30 days in the Lake County Jail, with the opportunity to purge, Doc. 7-7.
(The clock almost certainly started before July 2021, see Ervin v. Ervin, No. 20 C 6006
(N.D. Ill.), ECF No. 14 (Nov. 17, 2020), but there is no reason to run that question to ground.)
Even if the clock had started on July 30, 2021, Raymond and Barlow’s notice of removal, filed
on November 15, 2021, fell far outside the 30-day window allowed by § 1446(b). See Ervin II,
849 F. App’x at 169 (“[E]ven if Raymond sought to remove only the 2019 citation issued to the
Social Security Administration, he filed his notice of removal far beyond the third-day window,
see § 1446 … .”).

         Sarina seeks attorney fees and costs under 28 U.S.C. § 1447(c), which allows for a fee
and cost award “where the removing party lacked an objectively reasonable basis for seeking
removal.” Martin v. Franklin Capital Corp., 546 U.S. 132, 141 (2005). Raymond’s removal
was objectively unreasonable for both of the reasons set forth above, and Barlow’s was
objectively unreasonable for the second reason. It is beyond dispute that they removed this suit
simply to continue their efforts to avoid having to produce documents in the state court action
and, if they failed to do so, serving 30 days in jail for contempt. If, as the Seventh Circuit held, a
§ 1447(c) award was warranted in Ervin II, it surely is warranted here.



December 16, 2021                                      ___________________________________
                                                             United States District Judge




                                                  2
Case:1:21-cv-06064
Case: 1:21-cv-06064Document
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                                       12/20/21Page
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                                                                  #:1356

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois í CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Sarina Antonina Ervin
                                 Plaintiff,
v.                                                     Case No.: 1:21ícví06064
                                                       Honorable Gary Feinerman

                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 20, 2021:


      MINUTE entry before the Honorable Gary Feinerman: Respondent and
ThirdíParty Respondent's motion to reopen [16] is denied. The motion provides no valid
grounds for questioning the correctness of the 12/16/2021 order [15].(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
  Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 10 of 22 PageID #:1357




                          UNITED STATES COURT OF APPEALS
                             FOR THE SEVENTH CIRCUIT
                                United States Courthouse
                               219 South Dearborn Street
                                    Chicago, Illinois

                                  DOCKETING STATEMENT
                                     7CCA Docket No. 21-6064
                                       Type of Action:      Civil

Sarina Ervin,                                       )
                                                    )
       Petitioner-Appellee,                         )
                                                    )
       v.                                           )      Civil Action No. : 1:21-cv-06064
                                                    )
Raymond N. Ervin,                                   )      Judge Gary Feinerman
                                                    )
       Respondent-Appellant                         )      Northern District IL/Eastern
                                                    )      Division
       and                                          )
                                                    )
Gwendolyn Barlow,                                   )
     Third Party Respondent                         )

Statute or other authority establishing jurisdiction in the:
                       District Court:       28 U.S.C. § 1441;
                       Court of Appeals:     28 U.S.C. § 1291, 28 U.S.C. § 1443

Timeliness of Appeal:

       1.       Date of entry of judgment or order appealed from:                 12/16/21
       2.       Date notice of appeal filed:                                      12/27/21

Is the order or judgment appealed from a final decision on the merits?            Yes


Based on your present knowledge:
Will this appeal involve a question of first impression? No

If yes, please explain briefly:

Is any related case or cases raising related issues pending in this Court, any district court of
this circuit, or the Supreme Court?         No
  Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 11 of 22 PageID #:1358




State the nature of the suit, the relief sought, and the outcome below.

This is an action brought under 28 U.S.C § 1441 pursuant to 28 U.S.C §§ 1443, 1446(b)(3), and
42 U.S.C § 1983, in an action to remove the matter from the Circuit Court of Lake County, IL.
The District Court granted Petitioner’s motion to remand ruling that Respondents did not satisfy
the objective and reasonable analysis as the basis of the removal due to untimely filing of Notice
of Removal and bar of Mack Order. Respondents filed a Motion to Reopen the Case pursuant to
FRCP 60 (b). The District Court denied Respondent’s motion stating that there were no grounds
for correcting the order. Respondents are seeking to have the Order remanding the matter
vacated and the removal granted.

Issues to be raised on appeal.

Whether the District Court erred when finding that Respondent’s Notice of Removal was
untimely and that there was no exception to the Mack Order?

Whether the Mootness Doctrine bars Petitioner’s claims for Remand?

Whether the actions of the State Court deprived Respondents of their Civil Rights?


Is settlement being discussed? No

Is disposition on motions, memoranda, or abbreviated briefing schedule appropriate? No,
an abbreviated briefing schedule would be a disservice to Respondents.

Is oral argument necessary? No

Were there any in-court proceedings below? Yes

Is a transcript necessary for this appeal? Yes

If yes, is transcript already on file with the District Court? No, but it will be ordered.

List each adverse party to the appeal? If no attorney, give address and telephone number of
the adverse party. Attach additional page if necessary.

       Matthew Elster
       Beermann Law
       161 North Clark Street
       Suite 3000
       Chicago, Illinois 60601
  Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 12 of 22 PageID #:1359




List name(s) and address(es) of appellant(s) who filed this notice of appeal and appellant’s
counsel. Attach additional page if necessary.

Appellant name: Raymond N. Ervin and Gwendolyn Barlow
Attorney:    Raymond N. Ervin, Pro Se and Gwendolyn Barlow, Pro Se
             331 Springside Lane
             Buffalo Grove, Illinois 60089
             Ph:    (847) 404-4375/(847) 204-0416

Will you be handling the appeal? (In criminal cases counsel below will handle the appeal
unless relieved by this court.) Yes

FRAP 12(b) provides that each attorney who files a notice of appeal must file with the clerk of
the court of appeals a statement naming each party represented on appeal by that attorney. Any
counsel, other than the attorney filing this form, who filed a notice of appeal must provide the
requisite statement to be attached to this form.


Signature: /s/ Raymond N. Ervin
           /s/ Gwendolyn Barlow

Date: December 27, 2021

ATTACHED:
COPY OF THE ORDER OR JUDGMENT FROM WHICH THE APPEAL IS TAKEN.
COPY OF THE ORDER DENYING THE MOTION TO REOPEN THE CASE
CERTIFICATE OF SERVICE FOR THIS DOCKETING STATEMENT.
  Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 13 of 22 PageID #:1360




                               CERTIFICATE OR SERVICE


       We hereby certify that on the date set forth below, this Docketing Statement was e-filed
through ECF and served on counsel of record.


Dated: December 27, 2021

By:    s/Raymond N. Ervin
       s/Gwendolyn M. Barlow

Raymond N. Ervin, Pro Se
Gwendolyn M. Barlow, Pro Se
331 Springside Lane
Buffalo Grove, IL 60089
(847) 404-4375
ervinpatentlaw@gmail.com
(847) 204-0416
 barlowervin727@gmail.com
  Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 14 of 22 PageID #:1361




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SARINA ERVIN,                                                )
                                                              )
                                          Petitioner,         )    21 C 6064
                                                              )
                             vs.                              )    Judge Gary Feinerman
                                                              )
 RAYMOND ERVIN,                                               )
                                                              )
                                        Respondent,           )
                                                              )
 GWENDOLYN BARLOW,                                            )
                                                              )
                            Third-Party Respondent.           )

                                             ORDER

For the reasons set forth below, Petitioner’s motion to remand [6] is granted. This matter is
remanded to the Circuit Court of the Nineteenth Judicial Circuit, Lake County, Illinois. The
Clerk is directed to effectuate the remand forthwith. Petitioner’s request for fees and costs under
28 U.S.C. § 1447(c) is granted. By 1/6/2022, Petitioner shall file a memorandum, with
evidentiary support, setting forth the fees and costs she incurred in seeking remand. Respondent
and Third-Party Respondent shall respond to Petitioner’s memorandum by 1/20/2022; Petitioner
shall reply by 1/27/2022. The 12/17/2021 status hearing [14] is stricken. A hearing on the
amount of the § 1447(c) award is set for 2/8/2022 at 9:30 a.m. Attorneys/Parties should appear
for the hearing by calling the Toll-Free Number: (877) 336-1828, Access Code: 4082461.
Members of the public and media will be able to call in to listen to this hearing (use toll free
number). Please, please be sure to keep your phone on mute when you are not speaking. Persons
granted remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Civil case remanded.
                                             STATEMENT

        The background of this matter is set forth in Ervin v. Ervin, 849 F. App’x 168 (7th Cir.
2021) (Ervin II), and Ervin v. Ervin, 571 F. App’x 464 (7th Cir. 2014) (Ervin I). Familiarity with
those opinions is assumed. Raymond Ervin, this time joined by Gwendolyn Barlow, has once
again removed this suit to federal court. Doc. 1. Sarina Ervin moves to remand, Doc. 6, and her
motion is granted. There are many grounds for remand, but only two need be discussed.

        First, Raymond is subject to a Mack order that bars him from filing any paper in any
federal court in the Seventh Circuit unless and until he pays Sarina the $7,800 assessed by the
Seventh Circuit in Ervin II. Doc. 7-3. Raymond does not acknowledge the Mack order, let alone


                                                 1
  Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 15 of 22 PageID #:1362




assert that he has paid Sarina $7,800. Doc. 11. Accordingly, Raymond was not entitled to
remove this matter, which of course involves filing a paper in this court. And by failing to
address the Mack order, Raymond forfeited any argument he might have had that it did not bar
him from attempting a removal.

        Second, the removal was untimely under 28 U.S.C. § 1446(b). At the very latest, the
removal clock started on June 21, 2021, when the state trial court issued an order requiring
Raymond and Barlow to produce documents pursuant to previously issued citations to discover
assets, Doc. 7-4, or, at the very, very latest, on July 30, 2021, when the state trial court issued a
rule to show cause, Doc. 7-5, that, when they failed to comply, resulted in the contempt order
sentencing them to 30 days in the Lake County Jail, with the opportunity to purge, Doc. 7-7.
(The clock almost certainly started before July 2021, see Ervin v. Ervin, No. 20 C 6006
(N.D. Ill.), ECF No. 14 (Nov. 17, 2020), but there is no reason to run that question to ground.)
Even if the clock had started on July 30, 2021, Raymond and Barlow’s notice of removal, filed
on November 15, 2021, fell far outside the 30-day window allowed by § 1446(b). See Ervin II,
849 F. App’x at 169 (“[E]ven if Raymond sought to remove only the 2019 citation issued to the
Social Security Administration, he filed his notice of removal far beyond the third-day window,
see § 1446 … .”).

         Sarina seeks attorney fees and costs under 28 U.S.C. § 1447(c), which allows for a fee
and cost award “where the removing party lacked an objectively reasonable basis for seeking
removal.” Martin v. Franklin Capital Corp., 546 U.S. 132, 141 (2005). Raymond’s removal
was objectively unreasonable for both of the reasons set forth above, and Barlow’s was
objectively unreasonable for the second reason. It is beyond dispute that they removed this suit
simply to continue their efforts to avoid having to produce documents in the state court action
and, if they failed to do so, serving 30 days in jail for contempt. If, as the Seventh Circuit held, a
§ 1447(c) award was warranted in Ervin II, it surely is warranted here.



December 16, 2021                                      ___________________________________
                                                             United States District Judge




                                                  2
Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 16 of 22 PageID #:1363

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois í CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Sarina Antonina Ervin
                                 Plaintiff,
v.                                                     Case No.: 1:21ícví06064
                                                       Honorable Gary Feinerman

                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 20, 2021:


      MINUTE entry before the Honorable Gary Feinerman: Respondent and
ThirdíParty Respondent's motion to reopen [16] is denied. The motion provides no valid
grounds for questioning the correctness of the 12/16/2021 order [15].(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
CM/ECF LIVE, Ver 6.3.3 - U.S. District Court, Northern Illinois         https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?170804251264577-L_1_0-1
                    Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 17 of 22 PageID #:1364

                                                                                     APPEAL,JANTZ,REMAND,TERMED

                                            United States District Court
                          Northern District of Illinois - CM/ECF LIVE, Ver 6.3.3 (Chicago)
                                  CIVIL DOCKET FOR CASE #: 1:21-cv-06064
                                                   Internal Use Only


         Ervin v. Ervin et al                                                   Date Filed: 11/12/2021
         Assigned to: Honorable Gary Feinerman                                  Date Terminated: 12/16/2021
         Case in other court: Nineteenth Judicial Circuit of Lake County        Jury Demand: None
                              IL, 04D1943                                       Nature of Suit: 890 Other Statutory
         Cause: 28:1331 Federal Question                                        Actions
                                                                                Jurisdiction: Federal Question
         Petitioner
         Sarina Antonina Ervin                                    represented by Matthew David Elster
                                                                                 Beermann LLP
                                                                                 161 N Clark Street
                                                                                 Suite 3000
                                                                                 Chicago, IL 60601
                                                                                 (312) 621-1232
                                                                                 Email: mdelster@beermannlaw.com
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED


         V.
         Respondent
         Gwendolyn N Barlow                                       represented by Gwendolyn N Barlow
         Third-Party                                                             331 Springside Lane
                                                                                 Buffalo Grove, IL 60089
                                                                                 8472040416
                                                                                 Email: barlowervin727@gmail.com
                                                                                 PRO SE

                                                                                 Gwendolyn Marie Barlow
                                                                                 Law Office of G.M. Barlow
                                                                                 P.O. Box 5829
                                                                                 Buffalo Grove, IL 60089-5829
                                                                                 (847)204-0416
                                                                                 Email: barlowervin727@gmail.com
                                                                                 ATTORNEY TO BE NOTICED

         Respondent
         Raymond N Ervin                                          represented by Gwendolyn Marie Barlow
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED



1 of 6                                                                                                                 12/28/2021, 3:50 PM
CM/ECF LIVE, Ver 6.3.3 - U.S. District Court, Northern Illinois              https://ecf.ilnd.circ7.dcn/cgi-bin/DktRpt.pl?170804251264577-L_1_0-1
                    Case: 1:21-cv-06064 Document #: 26 Filed: 12/28/21 Page 18 of 22 PageID #:1365


                                         Select
          Date Filed             #       all / clear
                                                       Docket Text

          11/15/2021                 1                 NOTICE of Removal from Nineteenth Judicial Circuit Court of Lake
                                          49.18MB      County, case number (04D1943) Filing fee $ 402, receipt number
                                                       0752-18872904. (Attachments: # 1 Exhibit Court Order, # 2 Exhibit
                                                       Court Order, # 3 Exhibit Court Order, # 4 Exhibit Court Order, # 5
                                                       Exhibit Court Order, # 6 Exhibit Court Order, # 7 Exhibit Court Order, #
                                                       8 Exhibit Court Order, # 9 Exhibit Court Order, # 10 Exhibit Court
                                                       Order, # 11 Exhibit Motion, # 12 Exhibit Court Order, # 13 Exhibit
                                                       Petition, # 14 Exhibit Petition, # 15 Exhibit Court Order, # 16 Exhibit
                                                       Court Order, # 17 Exhibit Court Order, # 18 Exhibit Court Order (Ex A
                                                       and Ex B), # 19 Exhibit Court Order (Ex A and Ex B), # 20 Exhibit
                                                       Court Order, # 21 Exhibit Court Order, # 22 Exhibit Court Order, # 23
                                                       Exhibit Citation, # 24 Exhibit Citation, # 25 Exhibit Citation, # 26
                                                       Exhibit Citation, # 27 Exhibit Transcript, # 28 Exhibit Transcript, # 29
                                                       Exhibit Transcript, # 30 Exhibit Transcript, # 31 Exhibit Transcript, # 32
                                                       Exhibit Transcript, # 33 Exhibit Transcript, # 34 Exhibit Transcript, # 35
                                                       Exhibit Transcript, # 36 Exhibit Transcript, # 37 Exhibit Transcript, # 38
                                                       Exhibit Transcript, # 39 Exhibit Transcript, # 40 Exhibit Body
                                                       Attachment, # 41 Exhibit Termination of IWO, # 42 Exhibit IL HFS
                                                       Communication, # 43 Exhibit Body Attachment, # 44 Exhibit Petition to
                                                       Intervene, # 45 Exhibit Motion for Affidavit of Fees, # 46 Exhibit
                                                       Motion for Leave to Respond to Affidavit of Fees, # 47 Exhibit Motion
                                                       to Dismiss Memorandum of Law, # 48 Exhibit Motion to Dismiss or
                                                       Stay all Rulings, # 49 Exhibit Motion to Quash Subpoena TCF, # 50
                                                       Exhibit Motion to Quash Subpoena USAA, # 51 Exhibit Motion to
                                                       Reconsider, # 52 Exhibit Motion to Reconsider, # 53 Exhibit Motion to
                                                       Strike, # 54 Exhibit Reply to Response, # 55 Exhibit Reply to S Ervin
                                                       Response, # 56 Exhibit Response from IDHFS, # 57 Exhibit Response
                                                       to Motion to Vacate, # 58 Exhibit Response to Pet Affidavit of Fees, #
                                                       59 Exhibit Response to Verified Petition, # 60 Exhibit Response to
                                                       Verified Petition, # 61 Exhibit Body Attachment, # 62 Exhibit S Ervin
                                                       Assignment, # 63 Exhibit Stop Garnishment Letter from SSA, # 64
                                                       Exhibit Letter to J Steele from SSA, # 65 Exhibit Receipt of Court
                                                       Order)(Barlow, Gwendolyn) (Entered: 11/15/2021)
          11/15/2021                 2                 CIVIL Cover Sheet (Barlow, Gwendolyn) (Entered: 11/15/2021)
                                          308.50KB

          11/15/2021                 3                 ATTORNEY Appearance for Respondent Gwendolyn N Barlow by
                                          172.69KB     Gwendolyn Marie Barlow (Barlow, Gwendolyn) (Entered: 11/15/2021)
          11/15/2021                                   CASE ASSIGNED to the Honorable Gary Feinerman. Designated as
                                                       Magistrate Judge the Honorable Beth W. Jantz. Case assignment:
                                                       Random assignment. (dxb, ) (Entered: 11/15/2021)
          11/15/2021                                   CLERK'S NOTICE: Pursuant to Local Rule 73.1(b), a United States
                                                       Magistrate Judge of this court is available to conduct all proceedings in
                                                       this civil action. If all parties consent to have the currently assigned
                                                       United States Magistrate Judge conduct all proceedings in this case,
                                                       including trial, the entry of final judgment, and all post-trial



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                                                     proceedings, all parties must sign their names on the attached Consent
                                                     To form. This consent form is eligible for filing only if executed by all
                                                     parties. The parties can also express their consent to jurisdiction by a
                                                     magistrate judge in any joint filing, including the Joint Initial Status
                                                     Report or proposed Case Management Order. (dxb, ) (Entered:
                                                     11/15/2021)
          11/15/2021                 4               ATTORNEY Appearance for Respondent Raymond N Ervin by
                                          171.40KB   Gwendolyn Marie Barlow BY RAYMOND ERVIN (Barlow, Gwendolyn)
                                                     (Entered: 11/15/2021)
          11/16/2021                 5               ATTORNEY Appearance for Plaintiff Sarina Antonina Ervin by
                                          93.58KB    Matthew David Elster (Elster, Matthew) (Entered: 11/16/2021)
          11/16/2021                 6               MOTION by Plaintiff Sarina Antonina Ervin to remand (Elster,
                                          73.70KB    Matthew) (Entered: 11/16/2021)
          11/16/2021                 7               MEMORANDUM by Sarina Antonina Ervin in support of motion to
                                           2.42MB    remand 6 (Attachments: # 1 Exhibit Exhibit A - June 25, 2021 Ruling, #
                                                     2 Exhibit Exhibit B - November 17, 2020 Order, # 3 Exhibit Exhibit C -
                                                     July 30, 2021 Sanction order, # 4 Exhibit Exhibit D - June 21, 2021 state
                                                     court order, # 5 Exhibit Group Exhibit E - July 30, 2021 Orders, # 6
                                                     Exhibit Group Exhibit F - September 10, 2021 state court orders, # 7
                                                     Exhibit Exhibit G - October 15, 2021 state court order, # 8 Exhibit
                                                     Exhibit H - November 10, 2021 state court order)(Elster, Matthew)
                                                     (Entered: 11/16/2021)
          11/16/2021                 8               MINUTE entry before the Honorable Gary Feinerman:Motion to remand
                                           4.68KB    6 is entered and continued. Gwendolyn Barlow and Raymond Ervin
                                                     shall respond to the motion by 11/23/2021; Plaintiff shall reply by
                                                     11/30/2021. Motion hearing set for 12/6/2021 at 9:15 a.m.
                                                     Attorneys/Parties should appear for the hearing by calling the Toll-Free
                                                     Number: (877) 336-1828, Access Code: 4082461. Members of the
                                                     public and media will be able to call in to listen to this hearing (use toll
                                                     free number). Please, please be sure to keep your phone on mute when
                                                     you are not speaking. Persons granted remote access to proceedings are
                                                     reminded of the general prohibition against photographing, recording,
                                                     and rebroadcasting of court proceedings. Violation of these prohibitions
                                                     may result in sanctions, including removal of court issued media
                                                     credentials, restricted entry to future hearings, denial of entry to future
                                                     hearings, or any other sanctions deemed necessary by the Court. Mailed
                                                     notice. (jlj, ) (Entered: 11/16/2021)
          11/22/2021                 9               MOTION by Respondent Gwendolyn N Barlow for extension of time to
                                          192.07KB   file response/reply as to attorney appearance 5 , motion to remand 6 ,
                                                     attorney appearance 3 , attorney appearance 4 , order on motion to
                                                     remand,,,, set/reset hearings,,, 8 , civil cover sheet 2 , notice of
                                                     removal,,,,,,,,, 1 , memorandum in support of motion,, 7 (Attachments: #
                                                     1 Exhibit Email notice to Petitioner's Counsel)(Barlow, Gwendolyn)
                                                     (Entered: 11/22/2021)
          11/23/2021               10                MINUTE entry before the Honorable Gary Feinerman. The Clerk is
                                           4.42KB    directed to re-style the caption to indicate that Sarina Ervin is Petitioner,
                                                     Raymond Ervin is Respondent, and Gwendolyn Barlow is Third-Party


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                                                     Respondent. Respondents' motion for extension of time to file response
                                                     to Petitioner's motion to remand 9 is granted in part and denied in part.
                                                     The deadline for Respondent Raymond Ervin and Third-Party
                                                     Respondent Gwendolyn Barlow to respond to the motion to remand is
                                                     extended to 11/29/2021; Petitioner shall reply by 12/3/2021 at 4:00 pm
                                                     Central Time. Mailed notice (lk, ) (Entered: 11/23/2021)
          11/29/2021                11               RESPONSE by Gwendolyn N Barlow, Raymond N Ervinin Opposition
                                           5.23MB    to MOTION by Plaintiff Sarina Antonina Ervin to remand 6
                                                     (Attachments: # 1 Exhibit Pattern of Disparate Treatment, # 2 Exhibit
                                                     Order of Protection, # 3 Exhibit Court Order, # 4 Exhibit Court Order, #
                                                     5 Affidavit Affidavit of Fees, # 6 Exhibit Court Order, # 7 Exhibit
                                                     Bystander Report, # 8 Exhibit Court Order, # 9 Exhibit Court Order, #
                                                     10 Exhibit Transcript, # 11 Exhibit Transcript, # 12 Exhibit Transcript, #
                                                     13 Exhibit Transcript, # 14 Exhibit Transcript, # 15 Exhibit Transcript, #
                                                     16 Exhibit Transcript, # 17 Exhibit FOIA Response, # 18 Exhibit
                                                     Motion for a Protective Order, # 19 Affidavit Boldt Affidavit, # 20
                                                     Exhibit Supreme Court Order, # 21 Exhibit Procedural History, # 22
                                                     Exhibit Transcript, # 23 Exhibit Transcript)(Barlow, Gwendolyn)
                                                     (Entered: 11/29/2021)
          12/02/2021               12                REPLY by Sarina Antonina Ervin to response in opposition to motion,,,
                                           1.67MB    11 for Remand (Attachments: # 1 Exhibit A - Feb. 2020 State Appellate
                                                     Court Order, # 2 Exhibit B - June 2007 State Court Order)(Elster,
                                                     Matthew) (Entered: 12/02/2021)
          12/03/2021               13                MINUTE entry before the Honorable Gary Feinerman: Motion hearing
                                           4.62KB    set for 12/6/2021 at 9:15 a.m. 8 is re-set for 9:00 a.m. TIME CHANGE
                                                     ONLY. Attorneys/Parties should appear for the hearing by calling the
                                                     Toll-Free Number: (877) 336-1828, Access Code: 4082461. Members of
                                                     the public and media will be able to call in to listen to this hearing (use
                                                     toll free number). Please, please be sure to keep your phone on mute
                                                     when you are not speaking. Persons granted remote access to
                                                     proceedings are reminded of the general prohibition against
                                                     photographing, recording, and rebroadcasting of court proceedings.
                                                     Violation of these prohibitions may result in sanctions, including
                                                     removal of court issued media credentials, restricted entry to future
                                                     hearings, denial of entry to future hearings, or any other sanctions
                                                     deemed necessary by the Court.Mailed notice. (jlj, ) (Entered:
                                                     12/03/2021)
          12/06/2021               14                MINUTE entry before the Honorable Gary Feinerman:Motion hearing
                                           4.63KB    held. Plaintiff's motion to remand 6 is taken under advisement. Status
                                                     hearing set for 12/17/2021 at 9:15 a.m. Attorneys/Parties should appear
                                                     for the 12/17/2021 hearing by calling the Toll-Free Number: (877)
                                                     336-1828, Access Code: 4082461. Members of the public and media
                                                     will be able to call in to listen to this hearing (use toll free number).
                                                     Please, please be sure to keep your phone on mute when you are not
                                                     speaking. Persons granted remote access to proceedings are reminded of
                                                     the general prohibition against photographing, recording, and
                                                     rebroadcasting of court proceedings. Violation of these prohibitions may
                                                     result in sanctions, including removal of court issued media credentials,
                                                     restricted entry to future hearings, denial of entry to future hearings, or


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                                                     any other sanctions deemed necessary by the Court.Mailed notice. (jlj, )
                                                     (Entered: 12/06/2021)
          12/16/2021               15                ORDER written by the Honorable Gary Feinerman on 12/16/2021.
                                          116.67KB   Petitioner's motion to remand 6 is granted. This matter is remanded to
                                                     the Circuit Court of the Nineteenth Judicial Circuit, Lake County,
                                                     Illinois. The Clerk is directed to effectuate the remand forthwith.
                                                     Petitioner's request for fees and costs under 28 U.S.C. § 1447(c) is
                                                     granted. By 1/6/2022, Petitioner shall file a memorandum, with
                                                     evidentiary support, setting forth the fees and costs she incurred in
                                                     seeking remand. Respondent and Third-Party Respondent shall respond
                                                     to Petitioner's memorandum by 1/20/2022; Petitioner shall reply by
                                                     1/27/2022. The 12/17/2021 status hearing 14 is stricken. A hearing on
                                                     the amount of the § 1447(c) award is set for 2/8/2022 at 9:30 a.m.
                                                     Attorneys/Parties should appear for the hearing by calling the Toll-Free
                                                     Number: (877) 336-1828, Access Code: 4082461. Members of the
                                                     public and media will be able to call in to listen to this hearing (use toll
                                                     free number). Please, please be sure to keep your phone on mute when
                                                     you are not speaking. Persons granted remote access to proceedings are
                                                     reminded of the general prohibition against photographing, recording,
                                                     and rebroadcasting of court proceedings. Violation of these prohibitions
                                                     may result in sanctions, including removal of court issued media
                                                     credentials, restricted entry to future hearings, denial of entry to future
                                                     hearings, or any other sanctions deemed necessary by the Court. Civil
                                                     case remanded.Mailed notice.(jlj, ) (Entered: 12/16/2021)
          12/17/2021               16                MOTION by Respondents Gwendolyn N Barlow, Raymond N Ervin to
                                          197.37KB   reopen case (Barlow, Gwendolyn) (Entered: 12/17/2021)
          12/17/2021               17                REMAND with certified copy of order dated 12/16/2021 and letter to
                                          128.34KB   Circuit Court of Cook County via email. (rc, ) (Entered: 12/17/2021)
          12/20/2021               18                MINUTE entry before the Honorable Gary Feinerman: Respondent and
                                           4.28KB    Third-Party Respondent's motion to reopen 16 is denied. The motion
                                                     provides no valid grounds for questioning the correctness of the
                                                     12/16/2021 order 15 . (ca, ) (Entered: 12/20/2021)
          12/27/2021               19                PAYMENT by Gwendolyn N Barlow, Raymond N Ervin of Filing fee $
                                                     505, receipt number 0752-19001752. (Barlow, Gwendolyn) (Entered:
                                                     12/27/2021)
          12/27/2021               20                NOTICE of appeal by Gwendolyn N Barlow, Raymond N Ervin
                                          375.84KB   regarding orders 5 , 17 , 3 , 11 , 1 , 14 , 9 , 6 , 16 , 4 , 18 , 8 , 12 , 2 , 10 ,
                                                     15 , 7 , 13 Filing fee $ 505, receipt number 0752-19001760. Receipt
                                                     number: n (Attachments: # 1 Supplement Docketing Statement, # 2
                                                     Exhibit Court Order 12/16/21, # 3 Exhibit Court Order 12/20/21)
                                                     (Barlow, Gwendolyn) (Entered: 12/27/2021)
          12/28/2021               21                DOCKETING Statement by Gwendolyn N Barlow, Raymond N Ervin
                                          102.82KB   regarding notice of appeal, 20 (Barlow, Gwendolyn) (Entered:
                                                     12/28/2021)
          12/28/2021               22                MOTION by Respondents Gwendolyn N Barlow, Raymond N
                                          184.94KB   ErvinRemove Restricted Filer Status (Attachments: # 1 Exhibit Proof of



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                                                     Payment of Atty Fees)(Barlow, Gwendolyn) (Entered: 12/28/2021)
          12/28/2021               23                REQUEST for Clerk of Court to refund filing fee in the amount of $505,
                                          102.91KB   receipt no. 0752-19001752, regarding 505.00 fee payment of notice of
                                                     appeal 19 (Barlow, Gwendolyn) (Entered: 12/28/2021)
          12/28/2021               24                RESPONSE by Sarina Antonina Ervinin Opposition to MOTION by
                                          116.63KB   Respondents Gwendolyn N Barlow, Raymond N ErvinRemove
                                                     Restricted Filer Status 22 (Elster, Matthew) (Entered: 12/28/2021)
          12/28/2021               25                NOTICE of Appeal Due letter sent to counsel of record regarding notice
                                          156.12KB   of appeal, 20 . (jh, ) (Entered: 12/28/2021)

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